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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                               Eastern Division

Art Akiane LLC
                                      Plaintiff,
v.                                                       Case No.: 1:19−cv−02952
                                                         Honorable Edmond E. Chang
Art & SoulWorks LLC, et al.
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 4, 2022:


         MINUTE entry before the Honorable Jeffrey Cole: Video status conference held.
Fact discovery is completed. Oral motion to reset the expert discovery date from 6/17/22
to 7/1/22 is granted. The next video status is set for 6/13/22 at 9:30am. Please call (571)
353−2301, access code 509147929#. Instructions will be emailed to counsel. Persons
granted remote access to proceedings are reminded of the general prohibition against
photographing, recording, and rebroadcasting of court proceedings. Violation of these
prohibitions may result in sanctions, including removal of court issued media credentials,
restricted entry to future hearings, denial of entry to future hearings, or any other sanctions
deemed necessary by the Court. Should any issues arise during depositions, counsel
should contact the Court. I can be reached by a call to my courtroom deputy, Yulonda
Thomas, at 312−408−5178, and she will arrange for me to participate in the phone call.
Emailed notice (yt)




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